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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

MARK CLARKE, SANDRA CLARKE,
DAVID CLARKE and JUAN SOLIS,

Defendants.                                               No. 08-30170-DRH

                                      ORDER

HERNDON, Chief Judge:

              Now before the Court is the Government’s October 29, 2010 motion to

continue trial (Doc. 473).   Specifically, the Government moves to continue the

November 29, 2010 trial as co-defendants Sandra Clarke and Juan Solis are still

fugitives and their whereabouts are unknown. Clearly, the Court finds that under the

circumstances a continuance is warranted. Further, the Court finds that pursuant

to 18 U.S.C. § 3161(h)(7)(A), the ends of justice served by the granting of such

continuance outweigh the best interests of the public and all Defendants in a speedy

trial.   The Court GRANTS the motion to continue (Doc. 473).             The Court

CONTINUES the jury trial scheduled for November 29, 2010 to Tuesday, February

22, 2011 at 9:00 a.m.

              As noted above, Sandra Clarke and Juan Solis, remain fugitives. These

defendants are still at large and have not yet been arraigned. Further, no motion for

severance of the remaining defendants Mark Clarke and David Clarke has been filed

or granted in this case, meaning all defendants adhere to the same Speedy Trial
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clock. Because the Speedy Trial clock does not begin to run until the last co-

defendant is arraigned, the 70-day window for conducting this trial has not yet come

into play under the Speedy Trial Act. See United States v. Larson, 417 F.3d 741,

745 n.1(7th Cir. 2005)(“In the typical joint trial, the Speedy Trial clock begins

when the last codefendant is arraigned.”)(citing United States v. Baskin-Bey,

45 F.3d 200, 203 (7th Cir. 1995); Henderson v. United States, 476 U.S. 321,

323 n.2 (1986); 18 U.S.C. § 3161(h)(7)); United States v. Souffront, 338 F.3d

809, 835 (7th Cir. 2003)(The Court found that the seventy-day clock

commenced the day a fugitive – also the final co-defendant in the case - was

arraigned). Thus, as the Speedy Trial Clock has not begun to run, there is no need

to account for excluded time due to trial delays, such as when a trial is continued.

             Should either party believe that a witness will be required to travel on

the Justice Prisoner and Alien Transportation System (JPATS) in order to testify at

the trial of this case, a writ should be requested at least two months in advance. The

parties shall notify the Court if a change of plea hearing is necessary.

             IT IS SO ORDERED.

             Signed this 2nd day of November, 2010.
                                                              David R. Herndon
                                                              2010.11.02 12:04:09 -05'00'
                                      Chief
                                      Chi f Judge
                                            J d
                                      United States District Court
